From the petition and answer the following issues were made up and submitted to a jury:
1. Was the land surveyed according to law, and were the chain carriers sworn?
2. Did William Tate, enterer and grantee, survey for himself?
(301)      3. Did William Tate lay before the county surveyor the survey made by him, and was the same ratified and signed by the county surveyor?
4. Was there any fraud in surveying the land or in obtaining the grant which issued to William Tate? *Page 189 
The jury being instructed by his Honor, Judge Strange, that it was not fraudulent per se for the grantee to survey his own entry, found:
1. That the land was surveyed according to law, and that the chain carriers were sworn.
2. That William Tate, enterer and grantee, surveyed for himself.
3. That William Tate did lay before the county surveyor the survey made by him, and that the same was ratified and signed by the county surveyor.
4. That there was no fraud in surveying the land or in obtaining the grant which issued to William Tate.
Upon this verdict judgment was rendered for the defendants, from which the plaintiffs appealed.
The question in this case lies within narrow limits. It turns upon the fact that the land in controversy was surveyed by the ancestor of the defendants, who entered it, and to whom a grant issued.
The principle which must decide this case against the defendants was established in Avery v. Walker. It is there established that no deputy surveyor shall be permitted to survey land for himself, and to that case I refer, instead of repeating the reasons there given in support of this position. The grant must be vacated.
PER CURIAM. Judgment reversed, and judgment for the plaintiff.
Approved: Crow v. Howland, 15 N.C. 417. *Page 190 